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 9
10   Attorneys for Plaintiff
     ATEN INTERNATIONAL CO., LTD.
11
12                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13
                               SOUTHERN DIVISION
14
     ATEN INTERNATIONAL CO.,                )
15   LTD.,
                                            )   CASE NO. 2:15-CV-04424-AJG-AJW
16                                          )
           Plaintiff,                       )   PLAINTIFF’S SPECIAL VERDICT
17                                              FORM
                                            )
18                                          )   TRIAL START DATE: SEPT. 19, 2017
           vs.                              )
19                                              COURTROOM: 10D
                                            )
20   UNICLASS TECHNOLOGY CO.                )   HON. ANDREW J. GUILFORD
     LTD., et al.,
                                            )
21
                                            )
22         Defendants.                      )
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                             PLAINTIFF’S SPECIAL VERDICT FORM
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 1                                  JURY VERDICT FORM
 2         When answering the following questions and filling out this Verdict Form,
 3   please follow the directions provided. Your answer to the questions must be
 4   unanimous. The questions contain legal terms that are defined and explained in detail
 5   in the Jury Instructions. Please refer to the Jury Instructions if you are unsure about
 6   the meaning or usage of any legal term that appears in the questions below.
 7         We, the jury, unanimously agree to the answer to the following questions and
 8   return them under the instructions of this court as our verdict in this case.
 9
10   I.    PATENT INFRINGEMENT
11   1.    Has ATEN proven that it is more likely than not that any of the accused
12   products infringe any of the claims of the asserted patents literally or under the
13   doctrine of equivalents?
14   ____ YES (a finding for ATEN)           ___ NO (a finding for Defendants)
15
16   U.S. Patent No. 7,640, 289 (the ’289 patent)
17   2.    Do you find that the products in Group 3 infringe at least one claim of the ’289
18   patent? Group 3 consists of Prima T8, Prima T4, Prima T16, Linkskey LKV-9304,
19   LKV-9308, and LKV-9316.
20   ____ YES (a finding for ATEN)           ___ NO (a finding for Defendants)
21   3.    If your answer to question 2 is YES, please check claims that are infringed:
22   Claims ____ 1, ____ 2, ____ 3, ____ 4, ____ 5, ____ 6, ____ 7, ____ 8,
23         ____ 9, ____ 10, ____ 11, ____ 12, ____13, ____14, ____15, ____16,
24         ____17, ____18, ____19, ____20.
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 1   U.S. Patent No. 6,597,287 (the ’287 Patent)
 2   4.    Do you find that the products in Group 1 infringe claim 5 of the ’287 patent?
 3   Group 1 consists of UDV-TA2, UDP-TA2, UHV-TA2, USB-TA2, USB-SP02A, and
 4   USB-SP04A.
 5   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
 6   5.    Do you find that the products in Group 2 infringe claim 5 of the ’287 patent?
 7   Group 2 consists of UKA-248, Linkskey LKV-248AUSK, and Black Box KV7021A-
 8   K.
 9   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
10
11   U.S. Patent No. 7,742, 217 (the ’217 patent)
12   6.    Do you find that the products in Group 2 infringe at least one claim of the ’217
13   patent? Group 2 consists of UKA-248, Linkskey LKV-248AUSK, and Black Box
14   KV7021A-K.
15   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
16   7.    If your answer to question 6 is YES, please check claims that are infringed:
17   Claims ____ 1, ____ 3, ____ 4.
18
19   U.S. Patent No. 8,589,141 (the ’141 patent)
20   8.    Do you find that the products in Group 4 infringe at least one claim of the ’141
21   patent? Group 4 consists of Prima T8, Prima T4, Prima T16, Linkskey LKV-9304,
22   LKV-9308, and LKV-9316.
23   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
24   9.    If your answer to question 8 is YES, please check claims that are infringed:
25   Claims ____ 3, ____ 8, ____ 10.
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 1   10.   Do you find that the products in Group 5 infringe at least one claim of the ’141
 2   patent? Group 5 consists of AD-202A and 204A; AD-EP04A; AH-832A and 4A; AI-
 3   832A and 4A; AL-832A and 4A; AP-832A and 4A; AH-202A and 204A; AD-502D
 4   and 504D; AD-502V and 504V; AD-702D and 704D; AD-702V and 704V; AL-702D
 5   and 704D, Linkskey LDV-242AUSK; Airlink AKVM-2UDA; Linkskey LDV-
 6   DM722AUSK; LDV-DM724AUSK; LDV-DM712AUSK; and LDV-DM714AUSK.
 7   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
 8   11.   If your answer to question 10 is YES, please check claims that are infringed:
 9   Claims ____ 3, ____ 8, ____ 10.
10
11   INDIRECT INFRINGEMENT – INDUCING INFRINGEMENT
12   12.   Has ATEN proven that it is more likely than not that Defendants have induced
13   the infringement of any of the claims of the asserted ’289 patent?
14   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
15   13.   Has ATEN proven that it is more likely than not that Defendants have induced
16   the infringement of claim 5 of the asserted ’287 patent?
17   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
18   14.   Has ATEN proven that it is more likely than not that Defendants have induced
19   the infringement of any of the claims of the asserted ’217 patent?
20   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
21   15.   Has ATEN proven that it is more likely than not that Defendants have induced
22   the infringement of any of the claims of the asserted ’141 patent?
23   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
24
25   INDIRECT INFRINGEMENT – CONTRIBUTORY INFRINGEMENT
26   16.   Has ATEN proven that it is more likely than not that Defendants have
27   contributed to the infringement of any of the claims of the asserted ’289 patent?
28   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)

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 1   17.   Has ATEN proven that it is more likely than not that Defendants have
 2   contributed to the infringement of claim 5 of the asserted ’287 patent?
 3   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
 4   18.   Has ATEN proven that it is more likely than not that Defendants have
 5   contributed to the infringement of any of the claims of the asserted ’217 patent?
 6   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
 7   19.   Has ATEN proven that it is more likely than not that Defendants have
 8   contributed to the infringement of any of the claims of the asserted ’141 patent?
 9   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
10
11   WILLFUL INFRINGEMENT
12   20.   Has ATEN proven that it is more likely than not that Defendants’ infringement
13   was willful?
14   ____ YES (a finding for ATEN)         ___ NO (a finding for Defendants)
15
16   VALIDITY
17   21.   Have Defendants shown by clear and convincing evidence that any of the
18   asserted claims of the ’289 patent are invalid?
19   ____ YES (a finding for Defendants) ___ NO (a finding for ATEN)
20   22.   If your answer to question 21 is YES, please check claims that are invalid:
21   Claims ____ 1, ____ 2, ____ 3, ____ 4, ____ 5, ____ 6, ____ 7, ____ 8,
22         ____ 9, ____ 10, ____ 11, ____ 12, ____13, ____14, ____15, ____16,
23         ____17, ____18, ____19, ____20.
24   23.   Have Defendants shown by clear and convincing evidence that claim 5 of the
25   ’287 patent are invalid?
26   ____ YES (a finding for Defendants) ___ NO (a finding for ATEN)
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 1   24.      Have Defendants shown by clear and convincing evidence that any of the
 2   asserted claims of the ’217 patent are invalid?
 3   ____ YES (a finding for Defendants) ___ NO (a finding for ATEN)
 4   25.      If your answer to question 24 is YES, please check claims that are invalid:
 5   Claims ____ 1, ____ 3, ____ 4,
 6   26.      Have Defendants shown by clear and convincing evidence that any of the
 7   asserted claims of the ’141 patent are invalid?
 8   ____ YES (a finding for Defendants) ___ NO (a finding for ATEN)
 9   27.      If your answer to question 26 is YES, please check claims that are invalid:
10   Claims ____ 3, ____ 8, ____ 10,
11
12   DAMAGES
13            If you find that at least one asserted claim of the asserted patents is infringed and
14   not invalid, then you must answer the following questions:
15   28. What reasonable royalty rate do you find for ATEN regarding infringing sales for
16   the following Defendants?
17         a) (Uniclass) On-going royalty payment of ___________ % of total sales;
18         b) (Blackbox) On-going royalty payment of __________% of total sales;
19         c) (Airlink) On-going royalty payment of __________% of total sales;
20         d) (Broadtech d/b/a Linkskey) On-going royalty payment of ___________ % of
21            total sales.
22   29.      What amount of reasonable royalty damages do you award to ATEN for
23   Defendants’ infringing sales for the accused products? If you find Uniclass to be 100
24   percent responsible for all damages, please answer only question 22(a); otherwise
25   answer questions 28(a) through (d).
26      Answer with the Amount:
27      a) Uniclass: $______________________
28      b) Blackbox: $ ______________________

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 1      c) Airlink:    $ _______________________
 2      d) Broadtech d/b/a Linkskey $______________________
 3
 4   You have now reached the end of the verdict form and should review it to ensure it
 5   accurately reflects your unanimous determinations. The Presiding Juror should then
 6   sign and date the verdict form in the spaces below and notify the Marshall that you
 7   have reached a verdict. The Presiding Juror should retain possession of the verdict
 8   form and bring it when the jury is brought back into the courtroom.
 9
10   Dated: ________________                      By: __________________
11                                                     Presiding Juror
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 1   Dated: September 12, 2017               Respectfully submitted,
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                                             Attorneys for Plaintiff
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 1                              CERTIFICATE OF SERVICE
 2         The undersigned certifies that the foregoing PLAINTIFF’S SPECIAL
 3   VERDICT FORM was filed electronically, and pursuant to Civil L.R. 5-3.2, was
 4   served on all interested parties in this action (i.e., served to registered ECF recipients
 5   via ECF electronic service) on September 12, 2017.
 6
                                      /s/ Lei Mei
 7                                    Lei Mei
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